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United States District Court
District of Massachusetts

Cambridge Mutual Fire Ins. Co.,
Plaintiff,

Civil Action No.
22-12211-NMG

Vv.
Rust-Oleum Corp. et al.,

Defendants.

MEMORANDUM & ORDER
GORTON, J.

This case arises from the ashes of a fire that damaged the
property of the plaintiff’s insured. Pending before the Court
is defendant’s motion for partial summary judgment. For the
reasons that follow, the motion will be ALLOWED, in part, and

DENIED, in part.

I. Background

In November, 2019, plaintiff's insured allegedly purchased
one or more containers of Varathane Classic Stain (“Varathane”),
a product manufactured by defendant Rust-Oleum Corporation
(“Rust-Oleum”), from a store owned by defendant The Home Depot

Inc. (“Home Depot”).

Soon thereafter, plaintiff’s insured applied Varathane to

the floors and trim of his property in Chicopee, Massachusetts

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and disposed of the rags used to apply Varathane in a plastic
trash receptacle in the kitchen. The next day, plaintiff’s
insured returned to the property where he found the remnants of
a kitchen fire. The Chicopee Fire Department purportedly
determined that the fire was caused by spontaneous combustion of
the disposed rags containing Varathane.

Plaintiff’s insured filed claims with its insurer,
Cambridge Mutual Fire Insurance Company (“Cambridge Mutual” or
“plaintiff”) to recover it losses. Plaintiff indemnified the
owner for approximately $95,000 and brought the instant suit

against defendants as subrogee. It alleges, inter alia, claims

for breach of the warranty of merchantability and negligence

based on a failure-to-warn theory.

II. Motion for Partial Summary Judgment

A. Legal Standard

The role of summary judgment is “to pierce the pleadings
and to assess the proof in order to see whether there is a

genuine need for trial.” Mesnick v. Gen. Elec. Co., 950 F.2d

816, 822 (lst Cir. 1991) (quoting Garside v. Osco Drug, Inc.,

895 F.2d 46, 50 (1st Cir. 1990)). The burden is on the moving
party to show, through the pleadings, discovery and affidavits,

“that there is no genuine dispute as to any material fact and
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the movant is entitled to judgment as a matter of law.” Fed. R.

A fact is material if it “might affect the outcome of the

suit under the governing law[.]” Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248 (1986). A genuine issue of material
fact exists where the evidence with respect to the material fact
in dispute “is such that a reasonable jury could return a
verdict for the nonmoving party.” Id.

If the moving party satisfies its burden, the burden shifts
to the nonmoving party to set forth specific facts showing that

there is a genuine, triable issue. Celotex Corp. v. Catrett, 477

U.S. 317, 324 (1986). The Court must view the entire record in
the light most favorable to the non-moving party and make all
reasonable inferences in that party's favor. O'Connor v.
Steeves, 994 F.2d 905, 907 (lst Cir. 1993).

Summary judgment is appropriate if, after viewing the
record in the non-moving party's favor, the Court determines
that no genuine issue of material fact exists and that the

moving party is entitled to judgment as a matter of law. Celotex

Corp., 477 U.S. at 322-23.
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B. Analysis

The parties agree that Varathane is a “hazardous substance”
under the Federal Hazardous Substances Act (“FHSA” or “the

Act”). See 15 U.S.C. § 1261(f).

Defendants seek partial summary judgment on plaintiff's
claim for failure to warn about the risk of spontaneous
combustion on the grounds that 1) FHSA preempts state law
failure-to-warn claims that exceed the requirements of the Act,
2) FHSA requires only that hazardous substances include warnings
about “principal hazards,” 3) spontaneous combustion is not a
principal hazard and thus, 4) any claim based on a failure-to-
warn theory fails because there is no duty to warn about the
risk of spontaneous combustion as a matter of law.

1. Preemption

Plaintiff does not substantively dispute that FHSA preempts
state law failure-to-warn claims concerning “hazardous
substances” based on the theory that a product label should have
included warnings that are not required by the Act. It even

cites a case holding as much. See Mwesigwa v. DAP, Inc., 637

F.3d 884, 887 (8th Cir. 2011) (explaining that “[a] plaintiff
cannot...bring a failure-to-warn claim based on a state-law
theory that the product's label should have included particular

warnings not required by the FHSA.”).
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Courts have uniformly held that FHSA “preempts all
warnings-based claims seeking to impose...labelling requirements
{on hazard substances] different from those stated in the FHSA.”

Rees v. W.M. Barr & Co., 736 F. App’x 116, 124 (6th Cir. 2018);

see also Suarez v. W.M. Barr & Co, Inc., 842 F.3d 513 (7th Cir.

2016). The conclusion that FHSA preempts failure-to-warn claims
seeking to impose additional labelling requirements follows
logically from the structure of the statute the object of which
is to
provide nationally uniform requirements for adequate
cautionary labeling of packages of hazardous

substances [. ]

Milanese v. Rust-Oleum Corp., 244 F.3d 104, 109 (2d Cir. 2001)

(quoting House Comm. on Interstate and Foreign Commerce, Federal

Hazardous Substances Labeling Act, H.R. Rep. No. 1861, 86th

Cong., 2d Sess. 2 (1960)).

Furthermore, the text of FHSA is clear that “hazardous
substance[s]” such as Varathane need only provide warnings of
“principal hazard[s].” See 15 U.S.C. § 1261 (p) (1) (E).

2. Spontaneous combustion is not a “principal hazard”
under FHSA

Because FHSA preempts failure-to-warn claims that would
impese added labelling requirements (i.e. requirements
concerning non-principal hazards) defendants must demonstrate

that spontaneous combustion is not a principal hazard.
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To satisfy their burden, defendants maintain that four
other federal district courts have found that spontaneous
combustion is not a principal hazard within the meaning of FHSA.

See State Farm Gen. Ins. Co. v. Sherwin-Williams Co., 2021 WL

4913558 (C.D. Ca. Jul. 26, 2021); McGrath v. Rust-Oleum Corp.,

2013 WL 2896966 (E.D. Pa. Jun. 12, 2013); Penwell v. Rust-Oleum

Corp., 2006 WL 3792660 (W.D. Wis. Dec. 22, 2006); Mains v.

Sherwin-Williams Co., 640 F. Supp. 3d 373 (E.D. Pa. 2022).

Plaintiff proffers no contrary caselaw nor has this Court found
any decisions not in accord,

This Court agrees that spontaneous combustion is not a
principal hazard under FHSA. The statute does not define
“principal hazard” but lists the examples of items that are
“Flammable”, “Combustible”, “Vapor Harmful”, “Causes Burns” or
“[are] [a]bsorbed through Skin.” 15 U.S.C. § 1261(p) (1) (E). The
implementing regulations of the statute describe “principal
hazard” as “the principal or primary hazard(s) associated with a
hazardous substance”, and include the examples of substances
that are “harmful or fatal if swallowed”, “vapor harmful”,
“flammable” and “skin and eye irritant[s].” 16 C.F.R. §
1500.121(a) (2) (vii).

While both the statute and related regulations mandate
warnings about combustibility and flammability, the specific

risk of spontaneous combustion is not described in the statute.
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The examples provided in both demonstrate that the required
specificity of warnings for “principal hazard[s]” is very
generalized. Semantically, the risk of “spontaneous combustion”
is implied within the risk that a product can combust generally.
Nothing in the statute or implementing regulations suggests that
warnings must refer to spontaneous combustion or to any other
more specific permutation of the risk of combustibility.

Accordingly, this Court agrees with defendant, and all
other federal district courts to have considered the matter,
that spontaneous combustion is not a “principal hazard” subject
to mandatory warnings under FHSA.

3. Remaining arguments

The Court declines to consider plaintiff’s arguments with
respect to the adequacy of warnings in accompanying literature
unrelated to spontaneous combustion because discovery remains
ongoing. Accordingly, the Court will not preclude plaintiff
from continuing to assert failure-to-warn claims based upon such
a theory but, to the extent plaintiff asserts such a claim based
on a theory that Varathane should have included a warning about
spontaneous combustion, summary judgment will be entered for the

defendants.
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ORDER
For the foregoing reasons, the motion of defendants, Rust-
Oleum Corp., Rust-Oleum Sales Co. and The Home Depot Inc. for
partial summary judgment (Docket No. 37) is, to the extent
plaintiff asserts failure-to-warn claims based on a theory that
Varathane should have included a warning about spontaneous
combustion, ALLOWED but is otherwise DENIED without prejudice.

So ordered.

VM ton odor,

Nathaniel M. Gorton
United States District Judge

Dated: November l4, 2023
